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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


ANDREW BABINSKI                                        NO.: 3:20-cv-426-SDD-EWD

VERSUS

TODD QUEEN, ET AL.


                                              ORDER

       Considering the foregoing Motion to Dismiss Complaint Pursuant to Rule 12;

       IT IS HEREBY ORERED, ADJUDGED AND DECREED that the Motion to Dismiss

Complaint Pursuant to Rule 12, filed by Defendants, Kristin Sosnowsky, Shannon Walsh, John

Fletcher, and Alan Sikes is GRANTED, dismissing the Complaint of Plaintiff, Andrew Babinski,

with prejudice, at Plaintiff’s cost, including reasonable attorney fees.

       Baton Rouge, Louisiana this ______ day of _____________________, 2021.



                             _________________________________
                                  SHELLY D. DICK, JUDGE
